Case 2:Ol-cv-02478-BBD-dkv Document 253 Filed 07/29/05 Page 1 of 5 Page|D 334

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THE CLARK CONSTRUCTION GROUP, INC.
Plaintiff,
vs.

Civil Action No. 01-2478-DB

EAGLE AMALGAMATED SERVICES, INC.
et al.,

\_/\_r\/W\.d\_/\_/\./\./\-/

Defendants.

 

CONSENT ORDER OF DISMISSAL WITHOUT PREJUDICE

 

Pursuant to the Joint Stipulation of Dismissal without Prejudice filed With thel Court on

June 10, 2005, and docketed on June 14, 2005, it is hereby:

ORDERED that all of The Clark Construction Group, Inc.’s (“Clark”) claims and causes
of action in the above styled case against Defendant, ICI Explosives USA, lnc. (“ICI”) are

hereby DISMISSED WITHOUT PREJUDICE.

lt is so oRDERED this /34/ day of Augusc, 2005.

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DI'TR'IC COURT - WESTNER ISRICTOF TNNESEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 253 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

M. Clark Spoden

FROST BROWN TODD LLC
424 Church St.

Ste. 1600

Nashville, TN 37219

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Randall P. Mueller
CAREY OMALLEY WH[TAKER & MANSON PA

712 Oregon Avenue
Tampa7 FL 33606

Warren D. McWhirter
MCWH[RTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

George T. LeWis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Melissa Callahan Lesmes
THELEN REID & PRIEST LLP
701 Eighth Street, N. W.
Washington, DC 2000 1 --3 72

Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Case 2:Ol-cv-02478-BBD-dkv Document 253 Filed 07/29/05 Page 3 of 5 Page|D 336

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Eighth Street N. W.
Washington, DC 2000 1 --3 72

W. Bruce Baird

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Barry L. HoWard

RUTH HOWARD TATE & SOWELL
150 Second Avenue, N.

Ste. 201

Nashville, TN 37219--178

William L. Bomar
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Steven M. Crawford

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Kenneth O. Cooper

MCLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

Case 2:Ol-cv-O2478-BBD-dkv Document 253 Filed 07/29/05 Page 4 of 5 Page|D 337

Ann E. Georgehead

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Charles .1. Gearhiser

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

David T. Dekker

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Robert Y. GWin

FROST BROWN TODD LLC
400 W. Market St.

32nd Floor

Louisville, KY 40202--336

Timothy F. Brown

ARENT FOX KINTNER PLOTKIN & KAHN
1050 Connecticut Ave., N.W.

Washington, DC 20036--533

David T. Dekker

THELEN REID & PRIEST LLP
701 Eighth Street N. W.
Washington, DC 2000 1 --3 72

.1. Gregory Grisham

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

Sam D. Elliott

GEARHISER PETERS LOCKABY & TALLANT PLLC
320 McCallie Avenue

Chattanooga, TN 37402

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Case 2:Ol-cv-O2478-BBD-dkv Document 253 Filed 07/29/05 Page 5 of 5 Page|D 338

.1 ames H. Stock

WEINTRAUB STOCK & GRISHAM
1715 Aaron Brenner Dr.

Ste. 512

1\/1emphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

